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                10
                                           UNITED STATES DISTRICT COURT
                11
                              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                12

                13
                       BROIDY CAPITAL                         CASE NO. 2:18-CV-02421-JFW-E
                14     MANAGEMENT LLC, ELLIOTT
                       BROIDY, and ROBIN
                15     ROSENZWEIG,
                                                              MEMORANDUM OF POINTS &
                16                   Plaintiffs,              AUTHORITIES IN SUPPORT OF
                                                              MOTION TO QUASH PLAINTIFFS’
                17          v.                                SUBPOENA FOR PRODUCTION OF
                                                              DOCUMENTS FROM JOSEPH
                18     STATE OF QATAR,                        ALLAHAM
                       STONINGTON STRATEGIES
                19     LLC, NICHOLAS D. MUZIN, and
                       DOES 1-10,                             Date: July 13, 2018
                20                                            Time: 9:30 a.m.
                                     Defendants.              Courtroom: 750
                21
                                                              Judge:         John F. Walter
                22                                            Magistrate:    Charles F. Eick
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  LOS ANGELES
                              MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO QUASH
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                   1                MEMORANDUM OF POINTS AND AUTHORITIES
                   2   I.     INTRODUCTION
                   3          Plaintiffs BROIDY CAPITAL MANAGEMENT LLC, ELLIOTT BROIDY,
                   4   and ROBIN ROSENZWEIG’s (together, “Plaintiffs”) subpoena for the production
                   5   of documents from Joseph Allaham (the “Subpoena”) amounts to an improper
                   6   shotgun approach during discovery. It seeks irrelevant documents from Joseph
                   7   Allaham (the “Moving Party”), who is not a party to this action, at an extremely
                   8   early stage in this litigation and is therefore unduly burdensome and oppressive.
                   9   Mr. Allaham has no choice but to protect his rights through this Motion.
                10            Essentially, Plaintiffs seek copies of all communications and documents
                11     related to such communications dated May 1, 2017 to the present (including
                12     undated responsive documents) regarding: (1) Plaintiffs with the State of Qatar or
                13     with its officials, agents, or any persons acting on its behalf, including but not
                14     limited to Nicholas D. Muzin; (2) payments to Mr. Allaham related to his
                15     representation of the State of Qatar; (3) Mr. Allaham’s retention by the State of
                16     Qatar; and (4) one or more of the plaintiffs with agents of the State of Qatar,
                17     including (whether registered or unregistered), including individuals or entities
                18     associated with, or employed by various enumerated corporate entities.
                19            However, these categories are improper as they seek irrelevant information
                20     and are oppressive and unduly burdensome. Therefore, together with the fact that
                21     Plaintiffs’ subpoena for the production of documents is entirely premature, the
                22     Motion should be granted and the Subpoena should be quashed in its entirety.
                23     II.    FACTUAL/PROCEDURAL BACKGROUND
                24            On March 26, 2018, Plaintiffs filed the instant action against Defendants. On
                25     April 27, Plaintiffs stated their intention to file an Amended Complaint, to which
                26     Defendants consented. Plaintiffs filed their Amended Complaint on May 24, 2018.
                27            On May 2, 2018, Plaintiffs served the Subpoena on Mr. Allaham, who is not
                28     a party to this action.
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                   1   III.    ARGUMENT
                   2           A.     The Court Has the Power to Quash the Subpoena
                   3           Under Federal Rule of Civil Procedure 45 (“Rule 45”), when a subpoena
                   4   requires the production of documents, this Court, upon a motion made by a party,
                   5   may quash or modify the subpoena if it “subjects a person to an undue burden.”
                   6   Fed. R. Civ. P. 45(d)(3)(A). When determining whether the subpoenaed party has
                   7   been unduly burdened, “the Court should weigh the burden of the subpoenaed party
                   8   against the requested information’s relevance [and the] need of the serving party for
                   9   the information.” Bryant v. Romero, 2017 WL 495634, *2 (E.D. Cal. Feb. 6, 2017).
                10     Here, all document requests should be quashed because they are premature, unduly
                11     burdensome, and seek entirely irrelevant information. Further, the “limited”
                12     discovery that has been permitted in this case prior to the Rule 26(f) conference,
                13     which is currently scheduled for August 6, 2018, should be interpreted to
                14     encompass only that information which is relevant and necessary to Plaintiffs’ case.
                15             Further, this Court – as the issuing court of the Subpoena – is in the best
                16     position to decide this motion. In addition to Plaintiffs’ decision to file the
                17     underlying action in this Court, all motions, including those related to staying
                18     discovery, have been filed in this Court. Per the Advisory Committee’s notes on
                19     Rule 45, “transfer [to the issuing court] may be warranted in order to avoid
                20     disrupting the issuing court’s management of the underlying litigation, as when that
                21     court has already ruled on issues presented by the motion or the same issues are
                22     likely to arise in discovery in many districts.” Fed. R. Civ. P. 45(f) Advisory
                23     Committee Note (2013). That is certainly the case here.
                24             B.     The Subpoena Amounts to a Premature and Improper Effort to
                25                    Serve Discovery on a Third Party
                26             Plaintiffs’ subpoena for the production of documents is a premature and
                27     improper attempt to gain access to information from Mr. Allaham. First, even
                28     though Plaintiffs were well-aware that Defendants in this matter intended to file a
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                   1   motion to stay all discovery on Monday, June 4, 2018, Plaintiffs were unwilling to
                   2   consent to adjourning the time allotted for Mr. Allaham to respond to the Subpoena
                   3   beyond June 1, 2. Further, as Plaintiffs are aware and as Defendants reiterated
                   4   in their stay motions, there are substantial jurisdictional issues that have yet to be
                   5   resolved, including sovereign immunity with respect to Defendants and personal
                   6   jurisdiction over Defendants. Since Plaintiffs allege a connection between Mr.
                   7   Allaham and Defendants, the logical implication is that Mr. Allaham will be
                   8   impacted by any resolution regarding these jurisdictional issues. Moreover,
                   9   Plaintiffs have already agreed to stay discovery with respect to Defendants but not
                10     with respect to Mr. Allaham. Plaintiffs’ refusal to stay discovery with respect to Mr.
                11     Allaham amounts to an improper attempt to burden a third party pending the
                12     resolution of numerous essential issues.
                13           Second, as the parties have not yet held a Rule 26(f) conference, burdening a
                14     third party to produce documents at this time is premature.
                15           Finally, since Plaintiffs’ subpoena concerns direct communications between
                16     Plaintiffs and the Defendants in this matter, it is unclear as to why Plaintiffs choose
                17     to burden Mr. Allaham with multiple requests for communications and related
                18     documents when Plaintiffs could seek the same discovery from the primary sources.
                19     See, e.g., Moon v. SCP Pool Corp., 232 F.R.D. 633, 638 (C.D. Cal. 2005) (granting
                20     nonparty’s motion to quash subpoena, and stating specifically that since “plaintiffs
                21     have not shown they have attempted to obtain these documents from defendant, the
                22     Court finds that, at this time, requiring nonparty KSA to produce these documents
                23     is an undue burden on nonparty KSA”); Haworth, Inc. v. Herman Miller, Inc., 998
                24     F.2d 975, 978 (Fed. Cir. 1993) (finding that “the district court could properly
                25     require Herman Miller to seek discovery from its party opponent before burdening
                26     the nonparty Allsteel with this ancillary proceeding”).
                27            All of the above indicates that by issuing a subpoena for the production of
                28     documents from Mr. Allaham at this early stage in the litigation, Plaintiffs are
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                   1   engaging in a blatant and improper attempt to end-run restrictions on seeking
                   2   discovery from Defendants and are unduly burdening Mr. Allaham.
                   3          C.     The Subpoena Is Unduly Burdensome Because it Seeks Irrelevant
                   4                 Information
                   5          This Court has specifically emphasized that “[a]lthough irrelevance is not
                   6   among the litany of enumerated reasons for quashing a subpoena found in Rule 45,
                   7   courts have incorporated relevance as a factor when determining motions to quash a
                   8   subpoena.” SCP Pool Corp., 232 F.R.D. at 637. Further, courts in this circuit have
                   9   held that discovery restrictions may be broader when, as is the case here, a nonparty
                10     is the target of discovery. See Dart Industries Co., Inc. v. Westwood Chemical Co.
                11     Inc., 649 F.2d 646, 649 (9th Cir. 1980) (affirming the District Court for the Central
                12     District of California’s decision to quash subpoena). This Court has also stated that
                13     subpoenas requesting documents must be specific and tailored to gaining access to
                14     relevant information. See In re Blunden, 896 F.Supp. 996, 1000 (C.D. Cal. 1995)
                15     (denying motion to quash but acknowledging that “[a]s originally worded, the
                16     [movants’] contention that the subpoena is not specific is correct”). Here, all four of
                17     Plaintiffs’ requests for documents are neither specific enough, nor do they seek
                18     relevant information. As a result, these requests should be quashed in their entirety.
                19     IV.    CONCLUSION
                20            The Moving Party respectfully requests the Court grant this Motion as the
                21     subpoena is premature, improper, and unduly burdensome on the Moving Party.
                22

                23     Dated:        June 5, 2018               ARENT FOX LLP
                24

                25                                           By:/s/ Allan E. Anderson
                                                               ALLAN E. ANDERSON
                26                                             CRAIG ENGLE
                                                               Attorneys for JOSEPH ALLAHAM
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